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                  EXHIBIT C
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                                 31088


  From:            Yotam Barkai
  To:              azzmador@gmail.com
  Cc:              Jessica Phillips; Yotam Barkai
  Subject:         RE: Sines v. Kessler: Deposition
  Date:            Friday, June 5, 2020 10:47:00 AM


 Mr. Ray:

 If we do not hear from you about a date for your deposition, Plaintiffs will pick a date before July 17,
 2020, and circulate a deposition notice. Plaintiffs reserve all rights to seek relief from the Court if you
 fail to appear for your deposition.


 Yotam Barkai
 Associate

 BOIES SCHILLER FLEXNER LLP
 (t) +1 212 303 3643


 From: Yotam Barkai
 Sent: Thursday, May 7, 2020 3:23 PM
 To: azzmador@gmail.com
 Cc: Jessica Phillips <JPhillips@BSFLLP.com>; Yotam Barkai <YBarkai@BSFLLP.com>
 Subject: Sines v. Kessler: Deposition

 Mr. Ray:

 I am writing to inquire about your availability in June 2020 to sit for your deposition in Sines v.
 Kessler. As you know, the trial begins on October 26, 2020, and party depositions must be complete
 by July 17, 2020. Because of the pandemic, we will be taking depositions via video. Accordingly, in
 addition to informing me of your available dates to sit for a deposition, please also confirm whether
 you have access to a computer with a camera, a cell phone, and an internet connection. If you have
 any questions, I can be reached at the number in my signature below.

 Best,
 Yotam

 Yotam Barkai
 Associate

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